 Case 2:21-cv-04569-JAK-KS
                       Document 56 Filed 10/23/23
UNITED STATES DISTRICT COURT #:407
 CENTRAL DISTRICT OF CALIFORNIA
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   Melvin Huges Louis
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